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                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON

                                            EUGENE

 UNITED STATES OF AMERICA,                                  6:19-cv-00707-BR

         Plaintiff,
                                                            COMPLAINT, in rem,
         v.                                                 FOR FORFEITURE

 $2,457,790.72 in Funds seized from
  JPMorgan Chase Bank account #xxx0905;
 $1,266,650.00 in Funds seized from
  JPMorgan Chase Bank account #xxx3511;
 $1,383.68 in Funds seized from
  JPMorgan Chase Bank account #xxx2125;
 $200,653.71 in Funds seized from
  JPMorgan Chase Bank account #xxx8881;
 $32,921.00 US Currency;
 $1,940.77 US Currency;
 31.53810677 BTC;
 1,022.39066800 ETH; and
 5.74017141 BCH;
 in rem,

         Defendants.

        Plaintiff, United States of America, by Billy J. Williams, United States Attorney for the

District of Oregon, and Amy E. Potter Assistant United States Attorney, for its complaint in rem

for forfeiture, alleges:
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                                                   I.

        This Court has subject matter jurisdiction, in rem jurisdiction, and venue pursuant to

31 U.S.C. § 5324; 28 U.S.C. §§ 1345, 1355, 1356, and 1395; and 19 U.S.C. § 1610.

                                                  II.

        Defendants, in rem, $2,457,790.72 in funds seized from JPMorgan Chase Bank account

#xxx0905; $1,266,650.00 in funds seized from JPMorgan Chase Bank account #xxx3511;

$1,383.68 in funds seized from JPMorgan Chase Bank account #xxx2125; $200,653.71 in funds

seized from JPMorgan Chase Bank account #xxx8881; $32,921.00 US Currency; $1,940.77 US

Currency; 31.53810677 BTC; 1,022.39066800 ETH; and 5.74017141 BCH (hereinafter

“Assorted Funds”); were seized in the District of Oregon, and are now and during the pendency

of this action will be within the jurisdiction of this Court.

                                                  III.

        Defendants, in rem, Assorted Funds, represent proceeds traceable to a violation of

18 U.S.C. § 2319 (Copyright Infringement), thereby subjecting them to forfeiture pursuant to

18 U.S.C § 2323 and 18 U.S.C. § 981(a)(1)(C), as more particularly set forth in the declaration

of Keith Druffel, Special Agent, Internal Revenue Service-Criminal Investigations, marked as

Exhibit A, attached and fully incorporated herein by this reference.

                                                  IV.

        Defendants, in rem, Assorted Funds, also represent property involved in a transaction in

violation of 18 U.S.C. § 1957 (Money Laundering), thereby subjecting them to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(A), as more particularly set forth in the declaration of Keith




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Druffel, Special Agent, Internal Revenue Service-Criminal Investigations, marked as Exhibit A,

attached and fully incorporated herein by this reference.

        WHEREFORE, plaintiff, United States of America, prays that due process issue to

enforce the forfeiture of defendants, in rem, Assorted Funds; that due notice be given to all

interested persons to appear and show cause why forfeiture of these defendants, in rem, should

not be decreed; that due proceedings be had thereon; that these defendants be forfeited to the

United States; that the plaintiff United States of America be awarded its costs and disbursements

incurred in this action.

        Respectfully submitted this 6th day of May 2019.

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     s/ Amy E. Potter
                                                     AMY E. POTTER
                                                     Assistant United States Attorney




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                                            VERIFICATION




        I, KEITH DRUFFEL declare, under penalty of perjury, pursuant to the provisions of

28 U.S.C. Section 1746, that I am a Special Agent with the Internal Revenue Service-Criminal

Investigations and that the foregoing Complaint in rem for Forfeiture is made on the basis of

information officially furnished and upon the basis of such information the Complaint in rem for

Forfeiture is true as I verily believe.



                                          s/ Keith Druffel
                                          KEITH DRUFFEL
                                          Special Agent
                                          Internal Revenue Service-Criminal Investigations




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                            DECLARATION of KEITH DRUFFEL

I, KEITH DRUFFEL, do hereby declare:

                                 BACKGROUND/EXPERIENCE

       1. I am a Special Agent of the Internal Revenue Service-Criminal Investigations (IRS-CI)

assigned to the Eugene, Oregon Post of Duty, and have been so employed since 2007. As a

Special Agent, I investigate possible violations of the Internal Revenue Code (Title 26 United

States Code), the Money Laundering Control Act (Title 18 United States Code), the Bank

Secrecy Act (Title 31 United States Code), and other criminal violations.

                                 PURPOSE OF DECLARATION

       2. This declaration is submitted in support of a complaint in rem seeking forfeiture of the

funds in the following JP Morgan Chase Bank accounts as well as the currency and

cryptocurrency 1 listed below:

             a. $2,457,790.72 seized from Chase Platinum Business Checking account ending in

                0905, in the name of Viral Sensations Inc.

             b. $1,266,650.00 seized from Chase Platinum Business Checking account ending in

                3511, in the name of Viral Sensations Inc.




       1
          Cryptocurrency” (also known as “digital currency”) is generally defined as an
electronically sourced unit of value that can be purchased with, sold for, or used as a substitute
for fiat currency (i.e., currency created and regulated by a government). Bitcoin (“BTC”) is a
type of cryptocurrency. Users store their cryptocurrencies in digital “wallets,” which are
identified by unique electronic “public addresses.” A wallet essentially stores the access code
that allows an individual to conduct cryptocurrency transactions. A cryptocurrency address is
represented as a case-sensitive string of letters and numbers. Each cryptocurrency wallet contains
a private key, which acts as a digital verification of ownership. Only the holder of the private key
can authorize any transfers of digital currency.

Declaration of Keith Druffel                                                EXHIBIT A PAGE 1
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             c. $1,383.68 seized from Chase Platinum Business Checking account ending in 2125,

                in the name of Viral Sensations Inc.

             d. $200,653.71 seized from Chase Premier Platinum Checking account ending in

                8881, in the name of Talon V. White.

             e. $32,921.00 in US Currency seized during the execution of a search warrant at

                Talon White’s house.

             f. $1,940.77 in US Currency from the Stripe 2 account belonging to Talon White.

             g. 31.53810677 BTC (Bitcoin, a form of cryptocurrency) seized from Talon White’s

                Coinbase 3 account.

             h. 1,022.39066800 ETH (Ethereum, a form of cryptocurrency) seized from Talon

                White’s Coinbase account.

             i. 5.74017141 BCH (Bitcoin Cash, a form of cryptocurrency) seized from Talon

                White’s Coinbase account.

       These accounts, currency, and cryptocurrency represent proceeds traceable to violations

of 18 U.S.C. § 2319 (Copyright Infringement), thereby subjecting them to forfeiture pursuant to

18 U.S.C § 2323 and 18 U.S.C. § 981(a)(1)(C).

       3. In addition, because White used over $10,000 to purchase certain cryptocurrency,

those accounts are property involved in transactions in violation of 18 U.S.C. § 1957 (Money

Laundering), thereby subjecting them to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).




       2
         Stripe is a United States based technology company which allows both private
individuals and businesses to accept payments over the internet, similar to PayPal
       3
        Coinbase is a virtual currency exchange based in San Francisco, California.
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       4. Based on evidence obtained in this investigation, including White’s e-mails,

declarations from the Motion Picture Association of America (hereinafter “MPAA”), federal tax

return information, bank records, and property title records, there is probable cause to believe,

and I do believe, that beginning in at least 2013 and continuing to the present, White engaged in

a scheme with other known and unknown co-conspirators to reproduce and distribute

copyrighted material, including motion pictures and television broadcasts, for the purpose of

personal financial gain by making it available on a computer network accessible to members of

the public by subscription. The subscription fees, which represent the proceeds of the copyright

infringement, were processed through PayPal and Stripe accounts associated with White and

then deposited into various bank accounts controlled by White. One particular bank account, a

Wells Fargo account ending in 5111, received over $1,400,000.00 in criminal proceeds. Proceeds

from these bank accounts were then used to purchase, among other things, cryptocurrency and

real property.

       5. The information contained in this declaration is based on my personal knowledge, as

well as information obtained from other law enforcement personnel and from my review of

financial records. The information set forth here is provided solely for the purpose of

establishing probable cause in support of the seizure and therefore, it does not include each and

every fact that I or others have learned during the course of this investigation.

                           SUMMARY OF THE INVESTIGATION

       6. In October 2013, Homeland Security Investigation (HSI) agents received information

from PayPal regarding websites identified as www.noobroom.com and www.noobroom7.com

that allowed subscribers to stream and download copyrighted movies and television shows. HSI

agents contacted the MPAA regarding these websites, requesting they open an investigation to

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determine if the websites were authorized by member studios to offer the copyrighted content to

subscribers. The MPAA assists the motion picture and television industry to protect their

intellectual property rights, including copyrights. Specifically, the MPAA monitors the illegal

reproduction and distribution of American motion pictures and television programs.

       7. In November 2013, the MPAA provided a report of their investigation to HSI.

According to the MPAA report, www.noobroom7.com and its associated websites

www.noobroom5.com and www.noobroom9.com (hereinafter referred to collectively as

“Noobroom”) were distributing, without authorization from the copyright holder, motion pictures

and television shows that are protected by United States copyrights. The MPAA determined that

many of the movies available on Noobroom were from member studios and that Noobroom was

not authorized to allow the content to be downloaded or streamed. The MPAA reported that

Noobroom generated revenue through the sale of subscriptions which allowed users to either

stream or download copyrighted content.

       8. The MPAA reported that Noobroom not only received revenue from subscription

payments from users of the websites, but also received revenue from advertisements placed on

its webpages by a company identified as Lanista Concepts (hereinafter “LC”). The subscription

payments were being processed through Stripe.

       9. On July 17, 2014, the MPAA sent an e-mail to noobdmitri@gmail.com and

donutdmitri@gmail.com, two contact e-mails for Noobroom, directing them to cease and desist

operating the illegal website. The content of the e-mail notified the operator of Noobroom that

they were violating copyright laws and requested they take immediate steps to address the

copyright infringement of MPAA Member Studios’ motion pictures and television programs.

Attached to the letter was a list of motion pictures and television programs being used illicitly by

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Noobroom that were owned or controlled by MPAA Member Studios. Approximately five days

after the MPAA sent the cease and desist letter to Noobroom, the MPAA received an e-mail to

its undercover subscription at Noobroom. The e-mail was from noreply@noobroom.com with

the subject, “Noobroom Important Update.” The e-mail advised that user accounts had been

moved to a new website, www.superchillin.com (hereinafter “Superchillin”).

       10. HSI agents were able to download movies from Superchillin and obtained IP address

information while downloading those movies. With this information, they identified the

company hosting the servers used by Superchillin as Hosting Services Inc. The account

associated with the IP addresses was held in White’s name and included a phone number

associated with White.

       11. Through additional investigative efforts, two more sites linked to White were

identified — Movietv.to and Sit2play.com (Movietv and Sit2play). In June 2016, HSI agents

attempted to login to Movietv and were redirected to Sit2play, which accepted the login

information for Movietv. Sit2play appeared to be a near mirror image of Movietv in both content

and appearance. In 2017, HSI Agents attempted to renew the subscription to Movietv and found

the Movietv address had a notification posted that the site was moved to Sit2play. The registrant,

technical, administrative, and billing contacts for Sit2play were listed as White, with company

“NB” and e-mail address heyitstalon@hotmail.com, an email the investigation determined

belonged to White.

       12. HSI agents downloaded content from Superchillin, Movietv, and Sit2play throughout

2016 through November 2018 (when the search and seizure warrants were executed). The

MPAA reported that the subject websites listed above were distributing, without authorization

from the copyright holder, motion pictures and television shows that are protected by U.S.

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Copyrights. The MPAA determined that many of the movies available on the subject websites

were from member studios and that the subject websites were not authorized to allow the content

to be downloaded or streamed. The MPAA reported that the subject websites generated revenue

through the sale of subscriptions which allowed users to either stream or download copyrighted

content. Also, the MPAA advised that the content downloaded by HSI contained copyrighted

material and the MPAA provided certification as such.

Financial Analysis

       13. Based on financial records obtained during the investigation, I determined that White

received substantial revenue from the above-listed websites. In 2018, he was averaging revenue

over $500,000 per month. In 2017, White received over $2.2 million. In 2016, White received

over $1 million in revenue, and in 2014 and 2015, White received on average about $400,000 a

year in revenue.

       14. Subscribers to the various websites run by White paid for their subscriptions via

Paypal or Stripe. Those payments were then deposited into bank accounts controlled by White. A

financial analysis was conducted of all of those accounts and confirmed that money in those

accounts was received from Stripe or Paypal or other bank accounts that received those funds.

For this reason and for the reasons that follow, I believe those funds constitute the proceeds of

the copyright infringement.

       15. Stripe provided information related to White’s Stripe account that accepted

subscription payments. The bank account, phone number, and email address provided matched

White’s information. The product description for the account was listed as “Selling stock tip

subscriptions via email.” I have found no evidence he was engaged in selling stock tips.



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       16. Investigators reviewed payments received into the Stripe account from October 5,

2015 to December 25, 2016. There were 78,985 payments received in the amount of $9.99 for a

total of $789,060.15; 7,611 payments received in the amount of $25.49 for a total of

$194,004.39; and 5,348 payments received in the amount of $44.99 for a total of $240,606.52,

for a grand total of $1,223,671.24. The above-listed amounts correspond to the listed

subscription costs on Sit2Play and Movietv. Therefore, I believe the payments received by Stripe

are the subscription fees for the websites.

       17. Payments into White’s Stripe account were also reviewed for the timeframe of

October 1, 2016 to September 20, 2018 (a separate set of records that were received). There were

302,905 payments in the amount of $9.99 totaling $3,026,020.95, 45,050 payments in the

amount of $25.49 totaling $1,148,324.50, and 48,888 payments in the amount of $44.99 totaling

$2,199,471.12. The total amount of the above listed payments into White’s Stripe account was

$6,373,816.57. The above listed amounts correspond to the cost of subscriptions to the websites

and represent proceeds from the violation of 18 USC § 2319, Criminal Copyright Infringement.

       18. Further review of White’s Stripe account showed that through August 2018, over $3

million was transferred from the Stripe account to White’s Wells Fargo account 5111 and to the

JP Morgan Chase Bank account 0905 in the name of Viral Sensations, Inc.

       19. Viral Sensations, Inc., (VSI) was incorporated in Nevada on March 31, 2017. Entity

number E0155832017-8 was assigned to VSI. No officer names were listed. On April 4, 2017,

White opened three checking accounts in the name of VSI, including Chase Platinum Business

Checking account ending in 0905, Chase Platinum Business Checking account ending in 3511,

and Chase Platinum Business Checking account ending in 2125. White had sole signature

authority on the accounts. The primary business ID number listed on the signature card was

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E0155832017. Although White did not include the -8 on the signature card, a search of Nevada

Secretary of State Corporate Records for entity number E0155832017 listed VSI as the only

entity assigned that number.

       20. Deposits into the VSI account ending in 0905 from account opening through August

31, 2018 exceeded $5.9 million. Deposits included a Wells Fargo Bank cashier’s check in the

amount of $566,292.04 payable to Talon V. White that was purchased by Talon V. White with

funds in his Wells Fargo Bank account. As stated above, funds deposited into White’s Wells

Fargo Bank account consisted of subscriptions to the movie websites established by White and

from transfers from other bank accounts established by White that received proceeds from the

movie subscription websites. Subsequent deposits into the Chase 0905 account from Stripe have

been identified as proceeds from subscriptions to the websites described above. Deposits from

Stripe often exceeded $100,000 per deposit.

       21. Withdrawals from the Chase 0905 account include over $1 million used to purchase

cryptocurrency through Coinbase, a virtual currency exchange. Transfers to Coinbase often

exceeded $10,000 per transaction. For example, on August 21, 2018, $25,000 was transferred

from account 0905 to Coinbase for the purchase of cryptocurrency.

       22. The balance in the VSI account ending in 3511 on November 12, 2018, was

$1,266,650.00. Deposits consisted of transfers from the VSI account 0905 described above.

Between October 2017 and August 2018, White transferred approximately $1,277,000 from the

0905 account to the 3511 account.

       23. The balance in the VSI account ending in 2125 on November 12, 2018, was

$1,383.68. Deposits into the account included deposits from PayPal. The only known source of

PayPal deposits into White’s bank accounts was from the movie subscription websites.

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       24. On March 31, 2017, White opened Chase Premier Platinum Checking account ending

in 8881. White had sole signature authority on the account. On the day the account was opened,

White deposited a Wells Fargo Bank cashier’s check in the amount of $419,367.52 payable to

Talon V. White that was purchased by Talon V. White with funds in his Wells Fargo Bank

account. As stated above, funds deposited into White’s Wells Fargo Bank account consisted of

subscriptions to the movie websites established by White and from transfers from other bank

accounts established by White that received proceeds from the movie subscription websites. The

balance in the 8881 account on November 12, 2018, was $200,653.71.

Purchase of Cryptocurrency

       25. A further review of the Viral Sensations JP Morgan Chase Account 0905 revealed

that beginning on or around June 2017, there were numerous electronic withdrawals made to

Coinbase Inc., a virtual currency exchange based in San Francisco, California. The JP Morgan

Chase Account 0905 was linked to White’s Stripe account that received subscription payments

from the websites selling unlawful subscriptions to copyrighted material.

       26. White opened a Coinbase account ending in 749c112 on May 24, 2017 with

subscriber listed as Talon White, at his known address in Newport, Oregon and email of

heyitstalon@hotmail.com. From May 25, 2017 through August 2018, White’s Coinbase account

received approximately 120 ACH deposits from his Chase 0905 account totaling $384,555.10.

The last ACH deposit into this account was on December 9, 2017. Coinbase showed that White

purchased Bitcoin, Bitcoin cash, Litecoin, and Ethereum cryptocurrencies with the ACH

deposits.

       27. Further review of White’s Coinbase account history reveals that White purchased

78.93162817 BTC. White’s Coinbase account also purchased Bitcoin Cash in the amount of

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5.74017141 (equivalent to $3,134.33), Litecoin of at least 1210.347482 (equivalent to

$72,899.23), and 1022.390668 ETH (Ethereum) from Coinbase. This cryptocurrency was

purchased with funds from one of the bank accounts discussed above or through the exchange of

other cryptocurrency.

Search and Seizure Warrants

        28. On November 13, 2018, Mustafa Kasubhai, United States Magistrate Judge for the

District of Oregon, approved a search and seizure warrant allowing the search of Talon White’s

residence and seizure up to the following amounts in the accounts subject to forfeiture in this

affidavit:

             a. Up to $5,900,000.00 contained in Chase Platinum Business Checking account

                ending in 0905 in the name of Viral Sensations Inc.

             b. Up to $1,420,223.00 contained in Chase Platinum Business Checking account

                ending in 3511 in the name of Viral Sensations Inc.

             c. Up to $90,000 contained in Chase Platinum Business Checking account ending in

                2125 in the name of Viral Sensations Inc.

             d. Up to $419,367.52 contained in Chase Premier Platinum Checking account

                ending in 8881 in the name of Talon V. White.

             e. Up to $8,029,933.72 contained in White’s Stripe account.

             f. Up to 78.93162817 Bitcoin from Talon White’s Coinbase account

             g. Up to 5.74017141 Bitcoin Cash from Talon White’s Coinbase account.

             h. Up to 1022.390668 Ethereum, from Talon White’s Coinbase account.




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        29. On November 15, 2018, the search warrant was executed at Talon White’s residence

in Newport, Oregon. During the search, agents located $1,521 in White’s wallet, $5,200 in a

nightstand, and $26,200 in a safe, for a total seizure of $32,921 in U.S. Currency.

        30. On November 15, 2018, the seizure warrants were served on the various accounts and

the amounts seized from each account, which are listed in paragraph 3, are the amounts that the

subject to forfeiture in this civil complaint.



                                           CONCLUSION

        31. Based on the above, I have probable cause to believe, and I do believe, that White and

others known and unknown were involved in a conspiracy to commit copyright infringement and

money laundering, in violation of 18 U.S.C. §§ 1957 and 2319 from at least 2013 through

November 2018.

        32. I believe that proceeds from the copyright infringement were deposited, either

directly or indirectly, into JP Morgan Chase Bank accounts under the sole signature authority of

White, and that all funds in VSI Chase Performance Business Checking account ending in 0905,

VSI Chase Platinum Business Checking account ending in 3511, Chase Platinum Business

Checking account ending in 2125 and White Chase Premier Platinum Checking account ending

in 8881, the cryptocurrency accounts and the currency seized from his house are proceeds from

criminal copyright infringement, and, as such, are subject to forfeiture pursuant to pursuant to 18

U.S.C. § 2323 and 18 U.S.C. § 981(a)(1)(C).




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       33. In addition, because White used over $10,000 to purchase certain cryptocurrency,

those accounts are property involved in a transaction in violation of 18 U.S.C. § 1957 (Money

Laundering), and, as such, are subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

       I declare under penalty of perjury that the foregoing is true and correct pursuant to

28 U.S.C. §1746.



       Executed this 6th day of May, 2019.




                              ______________________
                              Keith Druffel
                              Special Agent
                              IRS-CI




Declaration of Keith Druffel                                               EXHIBIT A PAGE 12
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OJS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
 United States of America                                                                                      Assorted Funds, in rem

     (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant               Lincoln
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                       NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                              LAND INVOLVED.

   (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
 Amy E. Potter - United States Attorney's Office
 405 E. 8th Street, Suite 2400, Eugene OR 97401-2708
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1    U.S. Government                   ’ 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
         Plaintiff                             (U.S. Government Not a Party)                           Citizen of This State         ’ 1         ’ 1      Incorporated or Principal Place      ’ 4     ’ 4
                                                                                                                                                          of Business In This State

’ 2    U.S. Government                   ’ 4 Diversity                                                 Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                                                                                                                                           of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
          CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              ’ 610 Agriculture                   ’ 422 Appeal 28 USC 158           ’   400 State Reapportionment
’   120 Marine                       ’    310 Airplane                 ’ 362 Personal Injury -         ’ 620 Other Food & Drug             ’ 423 Withdrawal                  ’   410 Antitrust
’   130 Miller Act                   ’    315 Airplane Product               Med. Malpractice          ’ 625 Drug Related Seizure                28 USC 157                  ’   430 Banks and Banking
’   140 Negotiable Instrument                 Liability                ’ 365 Personal Injury -               of Property 21 USC 881                                          ’   450 Commerce
’   150 Recovery of Overpayment      ’    320 Assault, Libel &               Product Liability         ’ 630 Liquor Laws                     PROPERTY RIGHTS                 ’   460 Deportation
       & Enforcement of Judgment              Slander                  ’ 368 Asbestos Personal         ’ 640 R.R. & Truck                  ’ 820 Copyrights                  ’   470 Racketeer Influenced and
’   151 Medicare Act                 ’    330 Federal Employers’             Injury Product            ’ 650 Airline Regs.                 ’ 830 Patent                              Corrupt Organizations
’   152 Recovery of Defaulted                 Liability                      Liability                 ’ 660 Occupational                  ’ 840 Trademark                   ’   480 Consumer Credit
        Student Loans                ’    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   ’   490 Cable/Sat TV
        (Excl. Veterans)             ’    345 Marine Product           ’ 370 Other Fraud               ’ 690 Other                                                           ’   810 Selective Service
’   153 Recovery of Overpayment               Liability                ’ 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 380 Other Personal            ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                        Exchange
’   160 Stockholders’ Suits          ’    355 Motor Vehicle                  Property Damage                 Act                           ’ 862 Black Lung (923)            ’   875 Customer Challenge
’   190 Other Contract                        Product Liability        ’ 385 Property Damage           ’ 720 Labor/Mgmt. Relations         ’ 863 DIWC/DIWW (405(g))                  12 USC 3410
’   195 Contract Product Liability   ’    360 Other Personal                 Product Liability         ’ 730 Labor/Mgmt.Reporting          ’ 864 SSID Title XVI              ’   890 Other Statutory Actions
’   196 Franchise                             Injury                                                        & Disclosure Act               ’ 865 RSI (405(g))                ’   891 Agricultural Acts
       REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             ’ 740 Railway Labor Act               FEDERAL TAX SUITS               ’   892 Economic Stabilization Act
’   210 Land Condemnation            ’    441 Voting                   ’ 510 Motions to Vacate         ’ 790 Other Labor Litigation        ’ 870 Taxes (U.S. Plaintiff       ’   893 Environmental Matters
’   220 Foreclosure                  ’    442 Employment                     Sentence                  ’ 791 Empl. Ret. Inc.                      or Defendant)              ’   894 Energy Allocation Act
’   230 Rent Lease & Ejectment       ’    443 Housing/                    Habeas Corpus:                     Security Act                  ’ 871 IRS—Third Party             ’   895 Freedom of Information
’   240 Torts to Land                        Accommodations            ’ 530 General                                                             26 USC 7609                         Act
’   245 Tort Product Liability       ’    444 Welfare                  ’ 535 Death Penalty                   IMMIGRATION                                                     ’   900Appeal of Fee Determination
’   290 All Other Real Property      ’    445 Amer. w/Disabilities -   ’ 540 Mandamus & Other          ’ 462 Naturalization Application                                              Under Equal Access
                                             Employment                ’ 550 Civil Rights              ’ 463 Habeas Corpus -                                                         to Justice
                                     ’    446 Amer. w/Disabilities -   ’ 555 Prison Condition               Alien Detainee                                                   ’   950 Constitutionality of
                                             Other                                                     ’ 465 Other Immigration                                                       State Statutes
                                     ’    440 Other Civil Rights                                            Actions




V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
’ 1 Original            ’ 2 Removed from                    ’ 3 Remanded from                     ’ 4 Reinstated or ’ 5 Transferred  from
                                                                                                                        another district  ’ 6 Multidistrict                        ’ 7 Judge from
                                                                                                                                                                                       Magistrate
    Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                        (specify)                                                            Judgment
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      18:981
VI. CAUSE OF ACTION Brief description of cause:
                      forfeiture of assorted funds as proceeds of copyright infringement and involved in money laundering
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION      DEMAND $                    CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER F.R.C.P. 23                                              JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE Anna J. Brown                     DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
 5/6/2019                                                                s/ Amy E. Potter
FOR OFFICE USE ONLY

    RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE


                                                                           Submit                                                Go
